Case 1:21-cr-00527-RDM Document18 Filed 08/20/21 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal ''erm

Grand Jury Sworn in on May 25, 2021

UNITED STATES OF AMERICA
Vv.
ALAN WILLIAM BYERLY,

Defendant.

CRIMINAL NO.
VIOLATIONS:

18 U.S.C. § 231(a)()

(Civil Disorder)

18 U.S.C. § 111(a)(1) and (b)

(Assaulting, Resisting, or Impeding
Certain Officers Using a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in Restricted
Grounds Using and Carrying a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Grounds Using and Carrying a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Physical Violence in Restricted Grounds
Using and Carrying a Deadly or
Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds)

18 U.S.C. § 113(a)(4)

(Striking, Beating, or Wounding of
Another Person within the Territorial
Jurisdiction)

18 U.S.C. § 113(a)(5)

(Simple Assault within the Territorial
Jurisdiction)
Case 1:21-cr-00527-RDM Document18 Filed 08/20/21 Page 2 of 5

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia, ALAN WILLIAM
BYERLY, committed and attempted to commit an act to obstruct, impede, and interfere with a
law enforcement officer, that is, Officer A.G., an officer from the Washington, D.C. Metropolitan
Police Department, lawfully engaged in the lawful performance of his/her official duties incident
to and during the commission of a civil disorder, and the civil disorder obstructed, delayed, and
adversely affected the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, ALAN WILLIAM
BYERLY, using a deadly and dangerous weapon, that is, a TASER, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
and any person assisting such an officer and employee, that is, A.G., an officer from the
Washington, D.C. Metropolitan Police Department, while such officer and employee was engaged
in and on account of the performance of official duties and where the acts in violation of this

section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))
Case 1:21-cr-00527-RDM Document 18 Filed 08/20/21 Page 3 of 5

COUNT THREE

On or about January 6, 2021, in the District of Columbia, ALAN WILLIAM BYERLY,
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President and Vice President-elect were temporarily visiting, without lawful authority to do so,
and during and in relation to this offense ALAN WILLIAM BYERLY used and carried a deadly
and dangerous weapon, to wit a TASER.

(Entering and Remaining in a Restricted Grounds Using and Carrying a Deadly or

Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and

(b)(1)(A))

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, ALAN WILLIAM BYERLY,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in, and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did, in fact, impede and disrupt the
orderly conduct of Government business and official functions, and during and in relation to this
offense ALAN WILLIAM BYERLY used and carried a deadly and dangerous weapon, to wit a
TASER.

(Disorderly and Disruptive Conduct in Restricted Grounds Using and Carrying a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections
1752(a)(2) and (b)(1)(A)).
Case 1:21-cr-00527-RDM Document 18 Filed 08/20/21 Page 4 of5

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, ALAN WILLIAM BYERLY,
did knowingly engage in any act of physical violence against any person and property in restricted
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting, and during and in relation to this offense ALAN WILLIAM BYERLY used and carried
a deadly and dangerous weapon, to wit a TASER.

(Engaging in Physical Violence in Restricted Grounds Using and Carrying a Deadly

or Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(4)

and (b)(1)(A))

COUNT SIX

On or about January 6, 2021, in the District of Columbia, ALAN WILLIAM BYERLY,
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds,

(Act of Physical Violence in the Capitol Grounds, in violation of Title 40, United States

Code, Section 5104(e)(2)(F))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, ALAN WILLIAM
BYERLY, at a place within the territorial jurisdiction of the United States, namely the United
States Capitol Grounds, on land acquired for the use of the United States and under its exclusive
jurisdiction, did commit an assault of an individual with initials J.M. by striking, beating, and

wounding J.M.

(Striking, Beating, and Wounding within the Territorial Jurisdiction of the United
States, in violation of Title 18, United States Code, Section 113(a)(4))
Case 1:21-cr-00527-RDM Document18 Filed 08/20/21 Page 5of5

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, ALAN WILLIAM
BYERLY, at a place within the territorial jurisdiction of the United States, namely the United
States Capitol Grounds, on land acquired for the use of the United States and under its exclusive
jurisdiction, did commit a simple assault of an individual with initials J.M.
(Simple Assault within the Territorial Jurisdiction of the United States, in violation of

Title 18, United States Code, Section 113(a)(5))

A TRUE BILL;

/,’ FOREPERSON.
Chas |) Lrcllpr Jere

Attorney of the United States in
and for the District of Columbia.
